      Case 2:22-cv-09400-CBM-AGR Document 13 Filed 04/07/23 Page 1 of 1 Page ID #:98


                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                              CIVIL MINUTES - GENERAL


 Case No.        CV 22-9400-CBM(AGRx)                                                     Date      APRIL 7, 2023


 Title          Rick Ames et al v. Patrick Nelson et al


 Present: The Honorable           CONSUELO B. MARSHALL, UNITED STATES DISTRICT JUDGE


                  YOLANDA SKIPPER                                                      NOT REPORTED
                         Deputy Clerk                                                   Court Reporter


               Attorneys Present for Plaintiffs:                            Attorneys Present for Defendants:
                           None Present                                                 None Present


 Proceedings:            IN CHAMBERS - Order To Show Cause Re: Dismissal for Lack of Prosecution
Absent a showing of good cause, an action must be dismissed without prejudice if the summons and complaint are not
served on a defendant within 90 days after the complaint is filed. Generally, defendant must answer the complaint within
20 days after service (60 days if the defendant is the United States.)

In the present case, it appears that one or more of these time periods has not been met. Accordingly, the court, on its own
motion, orders plaintiff(s) to show cause in writing on or before MAY 19, 2023 why this action should not be dismissed
for lack of prosecution. As an alternative to a written response by plaintiff(s), the Court will consider the filing of one of
the following, as an appropriate response to this Order To Show Cause, on or before the above date, as evidence that the
matter is being prosecuted diligently:

         Proof(s) of service of summons and complaint on the defendant(s):
         An answer by the following defendant(s):

It is plaintiff's responsibility to respond promptly to all Orders and to prosecute the action diligently, including filing
proofs of service and stipulations extending time to respond. If necessary, plaintiff(s) must also pursue Rule 55 remedies
promptly upon the default of any defendant. All stipulations affecting the progress of the case must be approved by this
Court. (Local Rules 7-1 and 7-2).

No oral argument of this matter will be heard unless ordered by the Court. The Order will stand submitted upon the filing
of a responsive pleading or motion on or before the date upon which a response by plaintiff(s) is due. This action will be
dismissed if the above mentioned documents are not filed by the date indicated above.

IT IS SO ORDERED.
cc: all counsel


         CV 90 (12/02)                                CIVIL MINUTES - GENERAL                 Initials of Deputy Clerk YS
